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 1                                                              Judge Ricardo S. Martinez
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 8                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 9                                     AT SEATTLE
10   UNITED STATES OF AMERICA,              )
                                            )                   NO. CR05-417RSM
11                    Plaintiff,            )
                                            )
12              v.                          )
                                            )
13   JUSTIN BRICE WILLIAMS,                 )                   ORDER CONTINUING
                                            )                   TRIAL DATE
14                                          )
                      Defendant.            )
15    ______________________________________)
16

17          THIS MATTER comes before the Court on a stipulated motion of the government
18   and defendant JUSTIN BRICE WILLIAMS to continue the trial date. Having considered
19   the entirety of the record and files herein, the Court finds that failure to grant a
20   continuance would likely result in a miscarriage of justice. The case is complex, and
21   counsel for defendant WILLIAMS is out of the country for three weeks, returning on the
22   day of trial, May 8, 2006. This extended absence would prohibit defense counsel from
23   being adequately prepared for trial on May 8, 2006.
24          IT IS NOW, THEREFORE, ORDERED that trial of defendant JUSTIN BRICE
25   WILLIAMS be continued from May 8, 2006 to June 26, 2006, and that the time between
26   the date of this Order and the new trial date be excludable time under the Speedy
27

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     Order Continuing Trial
     Williams/CR05-417RSM –1                                                         UNITED STATES ATTORNEY
                                                                                      601 UNION STREET, SUITE 5100
                                                                                    SEATTLE, WASHINGTON 98101-3903
                                                                                             (206) 553-7970
           Case 2:05-cr-00417-RSM        Document 222     Filed 05/04/06    Page 2 of 2



 1   Trial Act pursuant to Title 18, United States Code, Sections 3161(h)(8)(A),
 2   3161(h)(8)(B)(i), and 3161(h)(8)(B)(ii).
 3         Dated this 4th day of May, 2006



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 6                                                   RICARDO S. MARTINEZ
                                                     UNITED STATES DISTRICT JUDGE
 7
     Presented by:
 8
     s/Douglas B. Whalley
 9   DOUGLAS B. WHALLEY
10   Assistant United States Attorney
     United States Attorney's Office
11   601 Union Street, Suite 5100
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     Washington State Bar #4625

15   s/ Lisca Borichewski
     LISCA BORICHEWSKI
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     Assistant United States Attorney
17   (206) 553-2266, Fax: (206) 553-4440
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     Washington State Bar #24300
19

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     Order Continuing Trial
     Williams/CR05-417RSM –2                                                    UNITED STATES ATTORNEY
                                                                                 601 UNION STREET, SUITE 5100
                                                                               SEATTLE, WASHINGTON 98101-3903
                                                                                        (206) 553-7970
